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                   UNITED STATES DISTRICT COURT
                              FOR THE
                        DISTRICT OF VERMONT

Robert Hickman,                   :
         Petitioner,              :
                                  :
    v.                            :     File No.        1:92-CR-63-02
                                  :
United States of America,         :
         Respondent.              :

         MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                     (Papers 207 and 209)

    Petitioner Robert Hickman, a federal inmate proceeding

pro se, has filed a motion for writ of habeas corpus

pursuant to 28 U.S.C. § 2241.         (Paper 207).         In his motion,

Hickman claims that the sentence he received over 11 years

ago violated his constitutional rights.                Specifically,

Hickman claims that his sentence was enhanced by facts that

were “not presented to the jury to be found by a beyond a

reasonable doubt standard,” thereby violating his Fifth and

Sixth Amendment rights.        Hickman has also filed a motion to

proceed in forma pauperis.        (Paper 209).         Because Hickman

has virtually no funds, his motion to proceed in forma

pauperis (Paper 209) is GRANTED.           For the reasons set forth

below, however, I recommend that his § 2241 motion (Paper

207) be DENIED.
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                          Factual Background

    Hickman alleges that in 1992 a jury found him guilty on

one count of conspiracy to possess with intent to distribute

cocaine, and one count of use of a communication facility to

commit a felony drug offense.             On December 23, 1993, he was

sentenced to 264 months on the first count and a concurrent

96 months on the second count.             Hickman claims that his

sentence was based upon a specific drug quantity that was

“not alleged in the indictment nor presented to the jury,”

and was enhanced two points for possession of a firearm,

four points for being an organizer and leader, and two

points for obstruction of justice.            He was ultimately

sentenced according to a guideline level of 36.                 Without the

finding of a specific drug quantity and subsequent

enhancements, Hickman claims that his sentence would have

been based upon a guideline level of 26.

    Hickman’s primary claim in the instant motion is that

his sentence was based upon facts that “were not presented

to the jury to be found by a beyond a reasonable doubt

standard,” thereby allegedly violating “Robert Hickman’s

Fifth Amendment rights to be presented with an indictment,

and due process of law.        As well, the procedure violated his


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Sixth Amendment rights to an impartial jury trial.”

                                 Discussion

      When an inmate files a motion for habeas corpus relief,

the Court must issue an order to the respondent to show

cause why the writ should not be granted “unless it appears

from the application that the applicant or person detained

is not entitled thereto.”          28 U.S.C. § 2243.          Here, Hickman

is not entitled to a writ, as the relief he seeks would

require retroactive application of the Supreme Court’s

decision in United States v. Booker, 125 S. Ct. 738 (2005) .

Before the Court reaches the issue of retroactivity, it must

address the question of whether it has jurisdiction to rule

upon his motion.

I.    Jurisdiction

      Hickman’s § 2241 motion challenges the imposition of

his sentence.       The Second Circuit has clearly held that the

appropriate vehicle for such a challenge is § 2255.                     See

Adams v. United States, 372 F.3d 132, 135 (2d Cir. 2004).

      Section 2241 is most appropriate for challenging
      the execution of a sentence. In a § 2241 petition
      a prisoner may seek relief from such things as,
      for example, the administration of this parole,
      computation of his sentence by parole officials,
      disciplinary actions taken against him, the type
      of detention, and prison conditions in the
      facility where he is incarcerated. See Jiminian

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    v. Nash, 245 F.3d 144, 146 (2d Cir. 2001). In
    addition, § 2241(c)(3) also grants federal courts
    authority to entertain habeas petitions from
    prisoners “in custody in violation of the
    Constitution or laws or treaties of the United
    States.” This language appears to create an
    overlap between § 2255 and § 2241. But we have
    ruled that federal prisoners generally must invoke
    § 2255 instead of § 2241 to challenge a sentence
    as violating the U.S. Constitution or laws.
    Jiminian, 245 F.3d at 147; Triestman v. United
    States, 124 F.3d 361, 373 (2d Cir. 1997).

Id. (emphasis in original).           If the Court construes

Hickman’s motion as brought pursuant to § 2255, however,

Hickman would face a procedural bar due to the fact that he

has filed previous § 2255 motions.              This Court would have

no jurisdiction to rule on the motion until it had been

transferred to the Second Circuit as “second and

successive,” and the Circuit had certified that the motion

may, in fact, be heard.        See id. at 136 (if motion is second

and successive, court need not give notice of conversion and

must transfer motion to Court of Appeals for

certification).1       Certification would be determined


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       Hickman’s motion concedes that he filed a previous §
2241 motion in the U.S. District Court for the Northern
District of New York. Although he states that the motion
was denied, the record does not reflect whether the court
reached the merits of his motion. There is, therefore,
inadequate support for treating the instant motion as a
second and successive § 2241 motion. See Villanueva v.
United States, 346 F.3d 55, 60 (2d Cir. 2003).

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according to the gatekeeping requirements of § 2255, which

allow second and successive petitions only if they contain

“(1) newly discovered evidence that, if proven and viewed in

light of the evidence as a whole, would be sufficient to

establish by clear and convincing evidence that no

reasonable factfinder would have found the movant guilty of

the offense; or (2) a new rule of constitutional law, made

retroactive to cases on collateral review by the Supreme

Court, that was previously unavailable.”               28 U.S.C. § 2255.

    Hickman claims that his motion is properly brought

under § 2241 because it fits into a narrow exception.                  This

exception allows a § 2241 motion to test the legality of

detention when § 2255 is inadequate or ineffective.                   See 28

U.S.C. § 2255, ¶ 5; Triestman, 124 F.3d at 373.                 In

Triestman, the Second Circuit held that § 2255 “may be

inadequate or ineffective in circumstances where a prisoner

cannot avail himself of § 2255, and when the failure to

obtain collateral review raises serious constitutional

questions.”     Adams, 372 F.3d at 135 (citing Triestman, 124

F.3d at 377).     The Second Circuit has subsequently held that

failure to meet the gatekeeping provisions does not render §

2255 inadequate or ineffective, “so long as the claim the


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prisoner seeks to raise was previously available to him on

direct appeal or in a prior § 2255 petition.”                Id. (citing

Jiminian, 245 F.3d at 147-48).

    Hickman’s claim that each of his sentence enhancements

needed to be found by a jury beyond a reasonable doubt

echoes the Supreme Court’s recent holdings in Blakely v.

Washington, 124 S. Ct. 2531 (2004) and United States v.

Booker, 125 S. Ct. 738 (2005) .2          Although the holding in

Booker restated the Supreme Court’s prior holding in

Apprendi v. New Jersey, 120 S. Ct. 2348 (2000) , courts had

generally not applied the holding Apprendi as broadly as now

dictated by Booker.       See, e.g., United States v. Garcia, 240

F.3d 180, 183-84 (2d Cir. 2001) (“We see nothing in the

Court’s holding in Apprendi or its explication of the

holding that alters a sentencing judge’s traditional

authority to determine those facts relevant to selection of

a sentence within the statutory maximum . . . .”); see also

United States v. Crosby, 397 F.3d 103, 120 n.6 (2d Cir.

2005) (Booker decision clarified the breadth of Apprendi) .

It is, therefore, arguable that Hickman’s claim, which


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       To the extent that Hickman’s claims are brought
pursuant to Apprendi, those claims were denied by the Court
in previous rulings. (Papers 182 and 186).

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challenges all enhancements not found by a jury, was not

available until after the Blakely and Booker decisions were

handed down.

    Hickman did raise a Blakely claim in a previous § 2255

motion.    In fact, the allegations in that claim were nearly

identical in substance to the claims presented here.                  (Paper

192).     His motion, however, was second and successive, and

certification was denied by the Second Circuit.                 (Paper

198).     Accordingly, the Court never reached the merits of

his claim.    Given these facts, it is again arguable that

because the Court could not reach the merits of Hickman’s

Blakely argument, that claim was not “available” to him in a

prior § 2255 motion.

    Hickman’s initial § 2255 motion was filed in July,

2002.     (Paper 174).    Neither Blakely nor Booker had been

decided at that time.       Consequently, at the time of his

initial § 2255 motion, Hickman could not have challenged his

sentence based upon the holdings in those cases.                 I

therefore find that Hickman’s current claim was not

previously available to him on direct appeal or in a motion

filed under § 2255, and recommend that the Court allow his §

2241 motion to proceed.        However, for the reasons set forth


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below, I recommend that his motion be DENIED.

II.     Retroactivity

       In Booker, the Supreme Court held that “the Guidelines

violated the Sixth Amendment to the extent that they allowed

the maximum sentence authorized by a guilty plea or a

verdict to be increased based on findings of fact (other

than the fact of a prior conviction) made by the judge.”

Guzman v. United States, 2005 WL 803214, at *1 (2d Cir.

April 8, 2005) (citing Booker, 125 S. Ct. at 755-56).

Booker also held that “any fact (other than a prior

conviction) which is necessary to support a sentence

exceeding the maximum authorized by the facts established by

a plea of guilty or a jury verdict must be admitted by the

defendant or proved to a jury beyond a reasonable doubt.”

Booker at 756.        As discussed above, Hickman’s claim that his

sentence was illegally enhanced closely tracks the language

of the Booker holding.

       In order for Hickman to obtain relief under Booker, the

Booker decision must apply retroactively to his 1993

sentence.       Hickman asserts in his motion that “[t]he

retroactivity of ‘Booker’, supra is not an issue,” since, he

claims, Booker merely clarified law that existed at the time


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of his sentencing.       To the contrary, the Second Circuit has

held that Booker announced a new rule of law that was not

compelled by precedent.        See Guzman v. United States, 2005

WL 803215, at *2 (2d Cir. April 8, 2005).               The Second

Circuit has also determined that Booker “is not retroactive,

i.e., it does not apply to cases on collateral review where

the defendant’s conviction was final as of January 12, 2005,

the date that Booker was issued.”           Guzman, 2005 WL 803214,

at *4.

    Hickman is challenging a sentence that became final

before the rule in Booker was announced.               Because that rule

is not retroactive, his claim that the facts supporting his

sentencing enhancements needed to be proven to a jury beyond

a reasonable doubt should be DENIED.

                               Conclusion

    For the reasons set forth above, Hickman’s motion to

proceed in forma pauperis (Paper 209) is GRANTED.                     I

further recommend that Hickman’s motion for habeas corpus

relief (Paper 207), brought pursuant to 28 U.S.C. § 2241, be

DENIED.

    Dated at Burlington, in the District of Vermont, this

27 th day of April, 2005.


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                       /s/ Jerome J. Niedermeier
                       Jerome J. Niedermeier
                       United States Magistrate Judge


Any party may object to this Report and Recommendation
within 10 days after service by filing with the clerk of the
court and serving on the magistrate judge and all parties,
written objections which shall specifically identify the
portions of the proposed findings, recommendations or report
to which objection is made and the basis for such
objections. Failure to file objections within the specified
time waives the right to appeal the District Court's order.
See Local Rules 72.1, 72.3 & 73.1; 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b), 6(a) and 6(e).




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